                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


UNITED STATES OF AMERICA               )
                                       )
v.                                     )       NO. 3:14-00090-5
                                       )       JUDGE CAMPBELL
JAMAL COOPER, et al                    )


                                       ORDER


     The status conference scheduled for July 7, 2014, is CANCELLED.

     IT IS SO ORDERED.



                                               __________________________________
                                               TODD J. CAMPBELL
                                               UNITED STATES DISTRICT JUDGE




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